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 5
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 8
                                     UNITED STATES DISTRICT COURT
 9
                                 NORTHERN DISTRICT OF CALIFORNIA
10
11
     RICHARD GAMBORD,                                 )   No.
12                                                    )
                       Plaintiff,                     )   COMPLAINT ASSERTING DENIAL OF
13                                                    )   RIGHT OF ACCESS UNDER THE
              vs.                                     )   AMERICANS WITH DISABILITIES ACT
14                                                    )
     PACIFIC CATCH, INC.; PRUNEYARD                   )   FOR INJUNCTIVE RELIEF,
15   REGENCY, LLC; PRUNEYARD OFFICE                   )   DECLARATORY RELIEF, DAMAGES,
     INVESTORS LLC;                                   )   ATTORNEYS’ FEES AND COSTS (ADA)
16                                                    )
                                                      )
17                     Defendants.                    )
                                                      )
18
19                                            I. SUMMARY
20            1.       This is a civil rights action by plaintiff RICHARD GAMBORD (“Plaintiff”) for
21   discrimination at the building, structure, facility, complex, property, land, development, and/or
22   surrounding business complex known as:
23                     Pacific Catch
                       1875 South Bascom Avenue #550
24
                       Campbell, California 95008
25                      (hereafter “the Facility”)

26            2.       Plaintiff seeks damages, injunctive and declaratory relief, attorney fees and
27   costs, against PACIFIC CATCH, INC.; PRUNEYARD REGENCY, LLC and PRUNEYARD
28   OFFICE INVESTORS LLC (hereinafter collectively referred to as “Defendants”), pursuant to



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 1   Title III of the Americans with Disabilities Act of 1990 (42 U.S.C. §§ 12101 et seq.) (“ADA”)
 2   and related California statutes.
 3                                            II.         JURISDICTION
 4             3.      This Court has original jurisdiction under 28 U.S.C. §§ 1331 and 1343 for ADA
 5   claims.
 6             4.      Supplemental jurisdiction for claims brought under parallel California law –
 7   arising from the same nucleus of operative facts – is predicated on 28 U.S.C. § 1367.
 8             5.      Plaintiff’s claims are authorized by 28 U.S.C. §§ 2201 and 2202.
 9                                                  III.     VENUE
10             6.      All actions complained of herein take place within the jurisdiction of the United
11   States District Court, Northern District of California, and venue is invoked pursuant to 28
12   U.S.C. § 1391(b), (c).
13                                                  IV.     PARTIES
14             7.      Defendants own, operate, and/or lease the Facility, and consist of a person (or
15   persons), firm, and/or corporation.
16             8.      Plaintiff is substantially limited in his ability to walk, and must use a wheelchair
17   for mobility. Consequently, Plaintiff is “physically disabled,” as defined by all applicable
18   California and United States laws, and a member of the public whose rights are protected by
19   these laws.
20                                                   V.       FACTS
21             9.      The Facility is open to the public, intended for non-residential use, and its
22   operation affects commerce. The Facility is therefore a public accommodation as defined by
23   applicable state and federal laws.
24             10.     Plaintiff lives less than thirty miles from the Facility and visited the Facility on
25   or about June 10, 2021 to have lunch with his mother, who substantially limited in her ability
26   to walk. During their visit to the Facility, Plaintiff and his mother personally encountered
27   barriers (both physical and intangible) that interfered with, if not outright denied, their ability
28   to use and enjoy the goods, services, privileges and accommodations offered at the Facility.



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 1   These barriers include, but are not necessarily limited to, the following:
 2                     a)       Plaintiff could not locate any van-accessible parking near the Facility,
 3                              nor any accessible passenger loading area where he could drop off his
 4                              mother, since she did not have an electric wheelchair and could not
 5                              travel a long distance. There were two designated accessible parking
 6                              stalls in front of the Facility entrance, but a dining patio enclosure had
 7                              been constructed on top of them so they could not be used. Plaintiff
 8                              travelled around the parking lot in search of a van-accessible parking
 9                              stall, and ultimately had to park near the parking garage diagonally
10                              taking up two non-accessible parking spaces so he would have enough
11                              room to deploy his ramp and unload his wheelchair.
12                     b)       Plaintiff then had to travel a long distance to reach the Facility entrance,
13                              and was forced to travel in vehicular ways and behind parked vehicles.
14                              He was almost hit by a passing vehicle, which was frightening.
15            11.      There may exist other barriers at the Facility which relate to Plaintiff’s
16   disabilities, and he will seek to amend this Complaint once such additional barriers are
17   identified as it is Plaintiff’s intention to have all barriers which exist at the Facility and relate to
18   his disabilities removed to afford him full and equal access.
19            12.      Plaintiff was, and continues to be, deterred from visiting the Facility because
20   Plaintiff knows that the Facility’s goods, services, facilities, privileges, advantages, and
21   accommodations were and are unavailable to Plaintiff due to Plaintiff’s physical disabilities.
22   Plaintiff enjoys the goods and services offered at the Facility, and will return to the Facility
23   once the barriers are removed.
24            13.      Defendants knew, or should have known, that these elements and areas of the
25   Facility were inaccessible, violate state and federal law, and interfere with (or deny) access to
26   the physically disabled. Moreover, Defendants have the financial resources to remove these
27   barriers from the Facility (without much difficulty or expense), and make the Facility
28   accessible to the physically disabled. To date, however, Defendants refuse to either remove



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 1   those barriers or seek an unreasonable hardship exemption to excuse non-compliance.
 2            14.      At all relevant times, Defendants have possessed and enjoyed sufficient control
 3   and authority to modify the Facility to remove impediments to wheelchair access and to
 4   comply with the 1991 ADA Accessibility Guidelines and/or the 2010 ADA Standards for
 5   Accessible Design. Defendants have not removed such impediments and have not modified the
 6   Facility to conform to accessibility standards. Defendants have intentionally maintained the
 7   Facility in its current condition and have intentionally refrained from altering the Facility so
 8   that it complies with the accessibility standards.
 9            15.      Plaintiff further alleges that the (continued) presence of barriers at the Facility is
10   so obvious as to establish Defendants’ discriminatory intent. On information and belief,
11   Plaintiff avers that evidence of this discriminatory intent includes Defendants’ refusal to adhere
12   to relevant building standards; disregard for the building plans and permits issued for the
13   Facility; conscientious decision to maintain the architectural layout (as it currently exists) at the
14   Facility; decision not to remove barriers from the Facility; and allowance that Defendants’
15   property continues to exist in its non-compliant state. Plaintiff further alleges, on information
16   and belief, that the Facility is not in the midst of a remodel, and that the barriers present at the
17   Facility are not isolated or temporary interruptions in access due to maintenance or repairs.
18                                            VI.    FIRST CLAIM
19                                     Americans with Disabilities Act of 1990
20                                  Denial of “Full and Equal” Enjoyment and Use
21            16.      Plaintiff re-pleads and incorporates by reference the allegations contained in
22   each of the foregoing paragraphs, and incorporates them herein as if separately re-pled.
23            17.      Title III of the ADA holds as a “general rule” that no individual shall be
24   discriminated against on the basis of disability in the full and equal enjoyment (or use) of
25   goods, services, facilities, privileges, and accommodations offered by any person who owns,
26   operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
27   //
28   //



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 1            18.      Defendants discriminated against Plaintiff by denying Plaintiff “full and equal
 2   enjoyment” and use of the goods, services, facilities, privileges and accommodations of the
 3   Facility during each visit and each incident of deterrence.
 4                        Failure to Remove Architectural Barriers in an Existing Facility
 5            19.      The ADA specifically prohibits failing to remove architectural barriers, which
 6   are structural in nature, in existing facilities where such removal is readily achievable. 42
 7   U.S.C. § 12182(b)(2)(A)(iv).
 8            20.      When an entity can demonstrate that removal of a barrier is not readily
 9   achievable, a failure to make goods, services, facilities, or accommodations available through
10   alternative methods is also specifically prohibited if these methods are readily achievable. Id.
11   § 12182(b)(2)(A)(v).
12            21.      Here, Plaintiff alleges that Defendants can easily remove the architectural
13   barriers at the Facility without much difficulty or expense, that the cost of removing the
14   architectural barriers does not exceed the benefits under the particular circumstances, and that
15   Defendants violated the ADA by failing to remove those barriers, when it was readily
16   achievable to do so.
17            22.      In the alternative, if it was not “readily achievable” for Defendants to remove
18   the Facility’s barriers, then Defendants violated the ADA by failing to make the required
19   services available through alternative methods, which are readily achievable.
20                                Failure to Design and Construct an Accessible Facility
21            23.      Plaintiff alleges on information and belief that the Facility was designed and
22   constructed (or both) after January 26, 1993 – independently triggering access requirements
23   under Title III of the ADA.
24            24.      The ADA also prohibits designing and constructing facilities for first occupancy
25   after January 26, 1993, that aren’t readily accessible to, and usable by, individuals with
26   disabilities when it was structurally practicable to do so. 42 U.S.C. § 12183(a)(1).
27   //
28   //



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 1            25.      Here, Defendants violated the ADA by designing and constructing (or both) the
 2   Facility in a manner that was not readily accessible to the physically disabled public –
 3   including Plaintiff – when it was structurally practical to do so.1
 4                                     Failure to Make an Altered Facility Accessible
 5            26.      Plaintiff alleges on information and belief that the Facility was modified after
 6   January 26, 1993, independently triggering access requirements under the ADA.
 7            27.      The ADA also requires that facilities altered in a manner that affects (or could
 8   affect) its usability must be made readily accessible to individuals with disabilities to the
 9   maximum extent feasible. 42 U.S.C. § 12183(a)(2). Altering an area that contains a facility’s
10   primary function also requires making the paths of travel, bathrooms, telephones, and drinking
11   fountains serving that area accessible to the maximum extent feasible. Id.
12            28.      Here, Defendants altered the Facility in a manner that violated the ADA and
13   was not readily accessible to the physically disabled public – including Plaintiff – to the
14   maximum extent feasible.
15                                  Failure to Modify Existing Policies and Procedures
16            29.      The ADA also requires reasonable modifications in policies, practices, or
17   procedures, when necessary to afford such goods, services, facilities, or accommodations to
18   individuals with disabilities, unless the entity can demonstrate that making such modifications
19   would fundamentally alter their nature. 42 U.S.C. § 12182(b)(2)(A)(ii).
20            30.      Here, Defendants violated the ADA by failing to make reasonable modifications
21   in policies, practices, or procedures at the Facility, when these modifications were necessary to
22   afford (and would not fundamentally alter the nature of) these goods, services, facilities, or
23   accommodations.
24                                            Failure to Maintain Accessible Features
25            31.      Defendants additionally violated the ADA by failing to maintain in operable
26   working condition those features of the Facility that are required to be readily accessible to and
27   usable by persons with disabilities.
28   1
      Nothing within this Complaint should be construed as an allegation that Plaintiff is bringing this action as a
     private attorney general under either state or federal statutes.


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 1              32.    Such failure by Defendants to maintain the Facility in an accessible condition
 2   was not an isolated or temporary interruption in service or access due to maintenance or
 3   repairs.
 4              33.    Plaintiff seeks all relief available under the ADA (i.e., injunctive relief, attorney
 5   fees, costs, legal expense) for these aforementioned violations. 42 U.S.C. § 12205.
 6                                            VII.   SECOND CLAIM
 7                                                   Unruh Act
 8              34.    Plaintiff re-pleads and incorporates by reference the allegations contained in
 9   each of the foregoing paragraphs, and incorporates them herein as if separately re-pled.
10              35.    California Civil Code § 51 states, in part, that: All persons within the
11   jurisdiction of this state are entitled to the full and equal accommodations, advantages,
12   facilities, privileges, or services in all business establishments of every kind whatsoever.
13              36.    California Civil Code § 51.5 also states, in part that: No business establishment
14   of any kind whatsoever shall discriminate against any person in this state because of the
15   disability of the person.
16              37.    California Civil Code § 51(f) specifically incorporates (by reference) an
17   individual’s rights under the ADA into the Unruh Act.
18              38.    Defendants’ aforementioned acts and omissions denied the physically disabled
19   public – including Plaintiff – full and equal accommodations, advantages, facilities, privileges
20   and services in a business establishment (because of their physical disability).
21              39.    These acts and omissions (including the ones that violate the ADA) denied,
22   aided or incited a denial, or discriminated against Plaintiff by violating the Unruh Act.
23              40.    Plaintiff was damaged by Defendants’ wrongful conduct, and seeks statutory
24   minimum damages of $4,000 for each offense.
25              41.    Plaintiff also seeks to enjoin Defendants from violating the Unruh Act (and
26   ADA), and recover reasonable attorneys’ fees and costs incurred under California Civil Code
27   § 52(a).
28   //



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 1                                                VIII. THIRD CLAIM
 2                              Denial of Full and Equal Access to Public Facilities
 3              42.      Plaintiff re-pleads and incorporates by reference the allegations contained in
 4   each of the foregoing paragraphs, and incorporates them herein as if separately re-pled.
 5              43.      Health and Safety Code § 19955(a) states, in part, that: California public
 6   accommodations or facilities (built with private funds) shall adhere to the provisions of
 7   Government Code § 4450.
 8              44.      Health and Safety Code § 19959 states, in part, that: Every existing (non-
 9   exempt) public accommodation constructed prior to July 1, 1970, which is altered or
10   structurally repaired, is required to comply with this chapter.
11              45.      Plaintiff alleges the Facility is a public accommodation constructed, altered, or
12   repaired in a manner that violates Part 5.5 of the Health and Safety Code or Government Code
13   § 4450 (or both), and that the Facility was not exempt under Health and Safety Code § 19956.
14              46.      Defendants’ non-compliance with these requirements at the Facility aggrieved
15   (or potentially aggrieved) Plaintiff and other persons with physical disabilities. Accordingly,
16   Plaintiff seeks injunctive relief and attorney fees pursuant to Health and Safety Code § 19953.
17                                          IX.      PRAYER FOR RELIEF
18              WHEREFORE, Plaintiff prays judgment against Defendants, and each of them, for:
19              1.       Injunctive relief, preventive relief, or any other relief the Court deems proper.
20              2.       Statutory minimum damages under section 52(a) of the California Civil Code
21                       according to proof.
22              3.       Declaratory relief finding that Defendants violated the ADA.
23              4.       Attorneys’ fees, litigation expenses, and costs of suit.2
24              5.       Interest at the legal rate from the date of the filing of this action.
25              6.       For such other and further relief as the Court deems proper.
26
27
28   2
         This includes attorneys’ fees under California Code of Civil Procedure § 1021.5.



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 1   Dated: 5/26/2022                         MOORE LAW FIRM, P.C.
 2
                                              /s/ Tanya E. Moore
 3                                            Tanya E. Moore
 4                                            Attorney for Plaintiff
                                              Richard Gambord
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 1
                                              VERIFICATION
 2
 3
              I, RICHARD GAMBORD, am the plaintiff in the above-entitled action. I have read the
 4
     foregoing Complaint and know the contents thereof. The same is true of my own knowledge,
 5
     except as to those matters which are therein alleged on information and belief, and as to those
 6
     matters, I believe them to be true.
 7
              I verify under penalty of perjury that the foregoing is true and correct.
 8
 9
10
     Dated:       5/26/2022                              /s/ Richard Gambord
11                                                   Richard Gambord
12
13           I attest that the original signature of the person whose electronic signature is shown
     above is maintained by me, and that his concurrence in the filing of this document and
14   attribution of his signature was obtained.
15                                                          /s/ Tanya E. Moore
16                                                   Tanya E. Moore
                                                     Attorney for Plaintiff,
17                                                   RICHARD GAMBORD
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